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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

____________________________________
                                        )
BEAN LLC d/b/a FUSION GPS,              )
                                        )
                  Plaintiff,            )
                                        )
                  v.                    )
                                        )           Civil Action 17-cv-2187-RJL
DEFENDANT BANK,                         )
                                        )
                  Defendant,            )
                                        )
                  and                   )
                                        )
PERMANENT SELECT COMMITTEE              )
ON INTELLIGENCE OF THE U.S.             )
HOUSE OF REPRESENTATIVES,               )
                                        )
                  Defendant-Intervenor. )
                                        )


                                NOTICE OF APPEARANCE

       I, Theodore J. Boutrous Jr., hereby enter my appearance as counsel of record in the above-

captioned case for Bean LLC d/b/a Fusion GPS. Please send all future notices in this matter to

me.



                                            Respectfully submitted,
Dated: December 12, 2017




                                            /s/ Theodore J. Boutrous, Jr.
                                            Theodore J. Boutrous, Jr., (D.C. Bar No. 420440)

                                            GIBSON, DUNN & CRUTCHER LLP
                                            1050 Connecticut Avenue, N.W.
                                            Washington, DC 20036
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                           GPS
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                                  CERTIFICATE OF SERVICE


        I hereby certify that on this 12th day of December 2017, I filed the foregoing Notice of

Appearance via the U.S. District Court for the District of Columbia’s CM/ECF system, which I

understand will serve notice of the filing on all filers registered in this case.



                                                        /s/ Theodore J. Boutrous, Jr.__________
                                                        Theodore J. Boutrous, Jr.,
